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                    EXHIBIT H
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                                    MEGAN L. ROPER

                            CURRICULUM VITAE
                                   AND
                       SUPPORT FOR APPOINTMENT AS
             PERSONAL INJURY PLAINTIFFS’ EXECUTIVE COMMITTEE

        IN RE: FUTURE MOTION, INC. PRODUCTS LIABILITY LITIGATION
                                MDL 3087


A.    Personal Information

      Name:                 Megan L. Roper
      Law Firm:             Bailey Cowan Heckaman PLLC ( www.bchlaw.com )
      Years of Practice:    8
      List of Firm Cases Transferred to MDL:

             Oatridge, et al. v. Future Motion, Inc., No. 5:21-cv-09906-BLF, in
             the United States District Court for the Northern District of
             California

             Bunnell, et al. v. Future Motion, Inc., No. 22-cv-01220-CNS-KAS,
             in the United States District Court for the District of Colorado


B.    Positions Sought

      Personal Injury Plaintiffs’ Executive Committee


C.    MDL Experience

                          Subject Matter &                                  “Unofficial” Roles
     MDL Name                                        Leadership Roles
                           Current Status                                        Played
 MDL 2885                Pensacola-based            Law firm partner       Conducted
 In re: 3M Combat        MDL involving              (Robert Cowan) is on   depositions of injured
 Arms Earplug Prods.     military veterans          the Plaintiffs’        parties, witnesses,
 Liab. Litig.,           suffering hearing          Steering Committee     and expert witnesses
 N.D. Fla.               damage from faulty
                         combat arms earplugs
                         (largest MDL in
                         history); MDL is
                         ongoing



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                         Subject Matter &                                  “Unofficial” Roles
     MDL Name                                        Leadership Roles
                          Current Status                                        Played
MDL 2789              Newark, N.J.-based            Law firm partner      Conducted PSC-
In re: Proton Pump    MDL involving                 (Camp Bailey) is on   delegated document
Inhibitor Litig.,     kidney-related                the Plaintiffs’       review and assisted
D.N.J.                injuries linked to            Sterring Committee    with 30(b)(6) and
                      proton pump inhibitor         (PSC)                 liability depositions
                      (heartburn) drugs;
                      MDL is ongoing
MDL 2973              Newark, N.J.-based                                  Assisted in the case
In     re:   Elmiron MDL involving                                        work-up and
(Pentosan             vision-related injuries                             settlement of the
Polysulfate Sodium) linked to pentosan                                    firm’s entire docket
Prods. Liab. Litig.,  polysulfate sodium                                  of cases
D.N.J.                drugs; MDL is
                      ongoing
JCCP NO. 4887         Alameda County,                                     Conducted
In re: Essure Product CA-based JCCP                                       depositions of injured
Cases,                involving Essure                                    parties in the Court
Alameda County, CA Permanent Birth                                        ordered discovery
                      Control System                                      wave
                      linked to numerous
                      side effects including
                      perforated organs,
                      autoimmune diseases,
                      severe pelvic pain,
                      and many others


D.    Legal Experience

      Since joining Bailey Cowan Heckaman PLLC (“BCH”) as a law clerk, Megan has been a
      part of the asbestos litigation group at the firm. Upon becoming a licensed attorney, she
      has managed hundreds of mesothelioma and lung cancer cases from intake to trial.

      As her career has progressed, Megan has become more involved in other areas of practice
      at BCH. She conducted the depositions of numerous Essure victims. She conducted the
      depositions of injured parties, witnesses, and expert witnesses in the 3M litigation. She
      prepared for and assisted in the depositions of 30(b)(6) and liability witnesses in the PPI
      litigation as well as other large-scale injury matters. Additionally, Megan assisted in the
      depositions of several executive officers of Future Motion, Inc.

      Most recently, Megan participated in the trial of a wrongful death and personal injury case
      which went to verdict in the Western District of Missouri. Megan was present at the counsel


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       table throughout the entire trial, prepared lead counsel for direct and cross examinations,
       and conducted the direct examination of one of the plaintiffs.


E.     Settlement Experience

       In her role as a managing attorney for asbestos-related cases, Megan has been instrumental
       in the negotiation of over a thousand individual settlements on behalf of her clients. As part
       of the settlement process, Megan has obtained approval from her clients for settlements,
       worked with defense counsel on release language, and qualified settlements by providing
       the necessary medical and product identification documents to defense counsel.

       Megan also assisted in the settlement process of BCH’s talc-related mesothelioma docket
       against Johnson & Johnson. Given the group nature of the settlement, Megan assisted in
       informing the clients of the group settlement and obtaining client consent to resolve the
       matters as a group.

       Currently, Megan is involved in settling BCH’s Elmiron cases and negotiating the master
       settlement agreement with defense counsel. In the process of negotiation, Megan has
       ensured qualifying medical documentation has been provided to defense counsel and
       clients have agreed to the nature of the settlement.


F.     Curriculum Vitae

                                  – LEGAL EXPERIENCE –

 January 2016 to               Bailey Cowan Heckaman PLLC, Houston, Texas, Associate
 Present                       • See Information above

 April 2014      to            Bailey Cowan Heckaman PLLC, Houston, Texas, Law Clerk
 January 2016                  • Prepared offensive discovery, responses to motions for
                                  summary judgment, complaints and other litigation
                                  documents
                               • Investigated claims for dismissal, viable entities, and worker’s
                                  compensation law as well as other asbestos issues

 Fall 2013                     Nance & Simpson, LLP, Houston, Texas, Law Clerk
                               • Drafted business formation documents, wills, estate tax
                                  returns, and other business and estate planning documents
                               • Researched issues in family law and the formation of business
                                  entities and prepared memorandums conveying the results

 January 2012 to               Joyce, McFarland + McFarland, LLP, Houston, Texas, Project
 August 2012                   Assistant


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                    •   Recorded Lis Pendens in the Real Property Records and
                        drafted preliminary answers and responses to discovery
                        requests
                    •   Scheduled administrative hearings and prepared the attorney
                        with all of the legal files and notebooks for hearings


                            – EDUCATION –

      University of Houston Law Center, Houston, Texas
  •   Juris Doctor, May 2015
  •   G.P.A.: 3.080
  •   Honors: Dean’s Scholarship Recipient
  •   Activities:
              Journal of Consumer & Commercial Law, Recent Developments Editor
              The Advocates, Internal Vice President
              Alternative Dispute Resolution Team, Competing Member
              The Ambassadors, Distinguished Member
              Aggie Law Society, Vice President and Secretary
              Student Bar Association, Internal Affairs Director
              Research Assistant to Professor Darren Bush

      University of Houston, C.T. Bauer College of Business, Houston, Texas
  •   Master of Business Administration, May 2015
  •   G.P.A.: 3.820
  •   Degree earned under joint M.B.A./J.D. program

      Texas A&M University, College Station, Texas
  •   Bachelor of Arts in Psychology, Minor in History, Summa Cum Laude, December
      2011
  •   G.P.A.: 4.000
  •   Activities:
              Legal Education Group for Aggie Law Students, Member
              Pre-Law Society, Member
              Business Math Tutorial Assistant to Professor Kendra Kilmer


               – TRAINING AND BAR MEMBERSHIPS –

  •   Certified Mediator (specialized training in Advanced Family Mediation)
  •   Certificate in Commercial Arbitration from the AA White Dispute Resolution
      Center
  •   State Bar of Texas, November 6, 2015
  •   Southern District of Texas, December 22, 2017
  •   Supreme Court of the State of Louisiana, October 26, 2018

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  •   Eastern District of Louisiana, December 31, 2019
  •   Middle District of Louisiana, January 17, 2020
  •   Western District of Louisiana, January 17, 2020
  •   Supreme Court of Illinois, June 25, 2020
  •   The Missouri Bar, June 2, 2021
  •   Southern District of Illinois, March 1, 2022




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